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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
    UNITED STATES OF AMERICA,
                    -v-                          Criminal No.
                                                 1:23−cr−00070−CJN−1
       JESSE JAMES RUMSON

             Defendant.


                MOTION FOR ADMISSION PRO HAC VICE OF ROGER ROOTS

       Pursuant to Local Civil Rule 83.2(d), John M. Pierce, a member of the bar of this Court

and counsel for Defendant, hereby moves for the admission pro hac vice of Roger Roots in the

above-captioned case. In support of this motion, the undersigned states as follows:

       1. I am a member in good standing of the Bar of this Court.

       2. Roger Roots is an attorney licensed in Rhode Island, with an office located at 10

           Dorrance Street Suite 700 #649, Providence, RI 02903. Mr. Roots resides in

           Livingston, Montana where he practices remotely.

       3. As set forth in the attached declaration, Mr. Roots is an active member in good standing

           of the state bar of Rhode Island (SBN 6752).

       4. Mr. Roots does not wish to be admitted generally, but for the purposes of this case only.

       WHEREFORE, movant respectfully requests that the Court enter an order permitting

Roger Roots to appear pro hac vice in the above-captioned case.
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Dated: May 13, 2023                 /s/ John M. Pierce
                                   John M. Pierce
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                                   Attorney for Defendant
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                                CERTIFICATE OF SERVICE

     I hereby certify that, on May 13, 2023, this motion and the accompany declaration was

filed via the Court’s electronic filing system, which constitutes service upon all counsel of record.

                                              /s/ John M. Pierce
                                              John M. Pierce
